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 8
                        UNITED STATES DISTRICT COURT
 9

10                    NORTHERN DISTRICT OF CALIFORNIA

11   DONALD CHEN and STEPHANIE               Case No.: 3:21-cv-05065-SK
     CHAN,
12                                           San Mateo County Superior Court Case
13
                       Plaintiffs,           No. 21-CIV-03001

14         v.                                DEFENDANTS’ REPLY BRIEF IN
                                             SUPPORT OF MOTION FOR
15   CHENG HU and XIAO LIANG                 SUMMARY JUDGMENT OR
     and DOES 1 through 10, inclusive,       PARTIAL SUMMARY JUDGMENT
16

17                     Defendants.           Date:      October 3, 2022
                                             Time:      9:30 a.m.
18                                           Ctrm/Dept: Courtroom C, 15th Floor
                                                        450 Golden Gate Ave.
19                                                      San Francisco, CA 94102
20
                                             Judge: Magistrate Judge Sallie Kim

21                                           Concurrently submitted documents:
                                             Objections to Evidence and
22                                           Supplemental Declaration of P.M.
                                             Bessette
23

24                                           Complaint filed: June 1, 2021
                                             Action removed to this court: June 30,
25                                           2021
                                             Trial date: January 24, 2023
26

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 1   I.       SUMMARY OF REPLY
 2            Defendants met their initial burden of demonstrating that Plaintiffs did not
 3   have sufficient facts to establish Defendants' culpability (intentional and
 4   unreasonable conduct, reckless or negligent conduct, or abnormally dangerous
 5   activity) to support Plaintiffs’ nuisance and trespass causes of action. The burden
 6   then shifted to Plaintiffs to identify specific and sufficient evidence to create a
 7   disputed issue material fact, which burden they failed to meet.
 8            Defendants did not tortiously cause the landslide onto Plaintiffs’ property
 9   and therefore owed no duty to clean it up. Nor did they promise to do so, and even
10   if they did, there is no evidence that any such promise was supported by
11   consideration or that Plaintiffs detrimentally relied upon it. Further, there is no
12   evidence that any current water seepage is the result of any tortious conduct of the
13   Defendants, that it substantially interferes with Plaintiffs’ use and enjoyment of
14   their property, or that Plaintiffs have suffered actual damage as a result thereof.
15   The motion for summary judgment should be granted.
16            Alternatively, if the court finds that there are issues of material fact
17   preventing entry of summary judgment on the nuisance and trespass causes of
18   action, there clearly is insufficient evidence -- that a trier of fact would find rising
19   to the level of “clear and convincing” evidence of malice, oppression or fraud -- to
20   support a claim for punitive damages, and Defendants are therefore entitled to
21   summary disposition of Plaintiffs’ prayer for punitive damages.
22   II.      ARGUMENT ON REPLY
23         A. Parties’ Respective Burdens on Summary Judgment.
24            “Summary judgment for a defendant is appropriate when the plaintiff fails to
25   make a showing sufficient to establish the existence of an element essential to that
26   party’s case, and on which that party will bear the burden of proof at trial.”
27

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 1   (Celotex Corp. v. Catrett (1986) 477 US 317, 322, 106 S.Ct. 2548, 2552; Johnson
 2   v. Hix Wrecker Service, Inc. (7th Cir. 2011) 651 F3d 658, 662.)
 3         The moving party may carry its burden of production on summary judgment
 4   by “showing” the opposing party lacks sufficient evidence to carry its ultimate
 5   burden of persuasion at trial; i.e., it does not have evidence from which a jury
 6   could find an essential element of the opposing party's claim or defense. (FRCP
 7   56(c)(1)(B); Celotex, 477 US at 325, 106 S.Ct. at 2554.)
 8         That is, it is the opposing party's burden to show a triable issue of fact as to
 9   matters on which it will bear the burden of persuasion at trial: “A complete failure
10   of proof concerning an essential element of the nonmoving party's case necessarily
11   renders all other facts immaterial.” (Celotex, 477 US at 323, 106 S.Ct. at 2552.)
12   “[T]he Celotex ‘showing’ can be made by pointing out through argument the
13   absence of evidence to support plaintiff's claim.” (Devereaux v. Abbey (9th Cir.
14   2001) 263 F3d 1070, 1076.)
15         Defendants met their burden of production when, among other things, they
16   demonstrated that the report of Plaintiffs’ experts, produced as part of their Rule 26
17   disclosures, and Plaintiffs’ own deposition testimony, did not contain any opinions
18   or facts to support that the landslide was caused by any negligent, reckless, or
19   intentional act, error or omission committed, or ultrahazardous activity engaged in,
20   by Defendants. At that point, the burden shifted to Plaintiffs to designate specific
21   facts demonstrating the existence of genuine issues for trial. (Celotex, 477 US at
22   324, 106 S.Ct. 2548.)
23         Plaintiffs’ burden is not a light one. Plaintiffs must show more than the mere
24   existence of a scintilla of evidence (Anderson v. Liberty Lobby, Inc. (1986) 477
25   U.S. 242, 252, 106 S.Ct. 2505) or that there is some “metaphysical doubt” as to the
26   material facts at issue. (Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.
27   (1986) 475 U.S. 574, 586, 106 S.Ct. 1348.) Simply put, Plaintiffs must come forth
28                                              2

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 1   with evidence from which a jury could reasonably render a verdict in their
 2   favor. (Anderson, 477 U.S. at 252, 106 S.Ct. 2505.) That evidence must be
 3   sufficiently probative to permit a reasonable trier of fact to find in favor of the
 4   opposing party. (Id. 477 U.S. at 249-250, 106 S.Ct. at 2511).
 5         The opposing parties’ evidence must be competent and admissible:
 6         “[W]here the nonmoving party will bear the burden of proof at trial on a
 7         dispositive issue … [former] Rule 56(e) … requires the nonmoving party to
           go beyond the pleadings and by her own affidavits, or by the ‘depositions,
 8         answers to interrogatories, and admissions on file,’ designate ‘specific facts
 9         showing that there is a genuine issue for trial.’” (Celotex, supra, 477 US at
           323-324, 106 S.Ct. at 2553; Simmonds v. Genesee County (6th Cir. 2012)
10         682 F3d 438, 445.)
11         Additionally, in the event the trial court concludes that expert testimony is
12   required, and Plaintiffs’ expert evidence is insufficient to allow a reasonable juror
13   to conclude that the position more likely than not is true, the court may
14   grant summary judgment. (Daubert v. Merrell Dow Pharms., Inc., (1993) 509 U.S.
15   579, 596, 113 S. Ct. 2786, 2798; Turpin v. Merrell Dow Pharmaceuticals,
16   Inc., 959 F.2d 1349 (6th Cir. 1992) [affirming summary judgment where scientific
17   evidence that provided foundation for expert testimony, viewed in the light most
18   favorable to plaintiffs, was not sufficient to allow a jury to find it more probable
19   than not that defendant caused plaintiff's injury], cert. denied, 506 U.S. 826, 113
20   S.Ct. 84 (1992).)
21         As demonstrated in the following subsections, Plaintiffs have failed to meet
22   their burden of pointing to specific facts that demonstrate the existence of a
23   material dispute that would preclude summary judgment for the Defendants.
24
        B. There is No Strict Liability for Nuisance or Trespass; Plaintiffs Must
25         Produce Evidence Defendants Were at Fault – They Have Failed to
           Produce Sufficient Admissible Evidence to Create an Issue of Fact.
26
           Plaintiffs would have this court hold Defendants potentially liable for
27
     nuisance and trespass simply because the landslide debris emanated from
28                                              3

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 1   Defendants’ property. Mere ownership of land from which the alleged nuisance
 2   emanates is not a basis to impose strict liability upon the Defendant landowners.
 3   (Lussier v. San Lorenzo Valley Water Dist. (1988) 206 Cal. App. 3d 92, 106.)
 4   Rather, nuisance liability must be based on (1) intentional and unreasonable
 5   conduct, or (2) unintentional but reckless or negligent conduct, or (3) abnormally
 6   dangerous activity. (Id. at 102.) The same liability standards apply to trespass
 7   causes of action. (Id. at 107.)
 8         Plaintiffs do not allege in their Complaint or opposition papers that
 9   Defendants were engaged in abnormally-dangerous activity that caused the slide
10   event. They further concede in their opposition papers that they must produce
11   evidence that defendants intentionally, recklessly or negligently caused their
12   damages (Plaintiffs’ Opp. Brief 3:9; 3:20-21; 5:11).
13         Here, Plaintiffs’ experts opine that the cause of the landslide was “high
14   groundwater in the upslope portion of [Defendants] property.” (Shires Decl. Exh.
15   Pg. 2, ¶3). This is a natural condition. The California Supreme Court has held that
16   when an alleged landslide affecting downhill property is caused by a natural
17   conditions on one’s property, an aggrieved downhill owner must prove that the
18   uphill landowner was at least negligent in causing the landslide. (Sprecher v.
19   Adamson Companies (1981) 30 Cal. 3d 358, 372.)
20         Moreover, as set forth in their opposition brief, Plaintiffs’ theory of liability
21   are (1) Defendants had an insufficient retaining wall to prevent landslide debris
22   from migrating onto Plaintiffs’ property (see Plaintiffs’ Opposition Brief 3:28-
23   4:2.), and (2) Defendants had a legal obligation to remove soil that had migrated
24   from their property onto Plaintiffs and had in fact promised to do so (Id. 4:9-20).
25   Since the basis of Plaintiffs’’ complaint is, not that the Defendants affirmatively
26   created the alleged nuisance but, that they failed to take steps to prevent it or abate
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 1   it after it occurred, a negligence standard applies. (City of Pasadena v. Superior
 2   Court (2014) 228 Cal.App.4th 1228, 1236.)
 3           Whether Defendants’ retaining wall failed to meet the appropriate standard
 4   of care, the cause of the slide, and any causal relationship between Defendants’
 5   retaining wall and the deposit of slide debris on Plaintiffs’ property are matters
 6   requiring scientific, technical, or other specialized knowledge within the scope of
 7   Rule 702 and therefore cannot be established absent qualified expert testimony. As
 8   mentioned in the moving papers, Plaintiffs’ expert report, although long on its
 9   description of the current state of the parties’ properties (including the fact that the
10   current soldier pile and tie back wall are preventing further slides),
11   recommendations for further investigation, and potential measures to avoid further
12   landslides, is woefully devoid of any findings or conclusions as to any culpability
13   on the part of Defendants in causing or failing to prevent the slide event. Thus,
14   Plaintiffs have failed to demonstrate through expert testimony that the defendants’
15   pre-slide wall was negligently designed, constructed or maintained, which
16   negligence caused or contributed to the slide event.
17           Lacking any expert testimony, Plaintiffs solely rely upon the fact that, after
18   the February 2017 landslide, Defendants built a soldier pile and tie-back wall on
19   their property to avoid future landslides. (Id. 4:4-6; Shires Dec. Exh. “B” pg. 3).
20   That Defendants took remedial measures after the accident to prevent further
21   landslide damage is inadmissible to prove that they negligently failed to prevent
22   the February 2017 landslide. (FRE 407).1
23           This is because evidence of a subsequent remedial measure is not evidence
24   of a defendant’s negligence; these measures can take place even in circumstances
25

26   1
      The Rule 407 exclusion rests on the “social policy of encouraging people to take, or at least not
     discouraging them from taking, steps in furtherance of added safety.” (FRE 407, Adv. Comm.
27   Notes; Diehl v. Blaw-Knox (3rd Cir. 2004) 360 F3d 426, 429-430; Adams v. City of Chicago (7th
     Cir. 2006) 469 F3d 609, 612.)
28                                                   5

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 1   “equally consistent with injury by mere accident or through contributory
 2   negligence.” (FRE 407, Adv. Comm. Notes; Minter v. Prime Equip. Co. (10th Cir.
 3   2006) 451 F3d 1196, 1211-1212 [application of Rule 407 must be guided by these
 4   principles]; see Crescent Plaza Hotel Owner, L.P. v. Zurich American Ins. Co. (7th
 5   Cir. 2021) 20 F4th 303, 311 [insurer's addition of communicable disease exclusion
 6   to 2020 policy was not “tacit admission” that 2019 policy did not exclude losses
 7   caused by viruses].)
 8           Thus, the court cannot infer that, simply because the current soldier pile and
 9   tie-back wall have prevented future landslides, that the previous retaining system
10   failed to comply with the adequate standard of care. In the absence of supporting
11   expert testimony, Plaintiffs’ counsel’s contention in the opposition brief that an
12   “insufficient retaining wall” constituted negligence or other culpable conduct,
13   resulting in the landslide2 is pure lay speculation and will not create a disputed
14   issue of material fact.
15           Moreover, Plaintiffs have offered no evidence to support that the slide event
16   was reasonably foreseeable to Defendants and that they failed to take reasonable
17   steps to prevent. (contrast Sprecher v. Adamson Companies (1981) 30 Cal. 3d 358,
18   361 [in landslide case, Supreme Court reversed summary judgment for Defendant
19   uphill landowner, noting evidence that landslide activity had been evident since the
20   area was first developed in the early 1900's, and had been classified as active
21   because it exhibited periodic cycles of activity and dormancy – issues of fact
22   therefore existed as to whether Defendants knew or had reason to know of the
23   ongoing landslide activity but did nothing to abate the condition].)
24

25

26   2
      Defendants have objected to Plaintiffs’ expert’s opinions as to the cause of the landslide as high
     groundwater in the upslope (See Obj. to Plaintiffs’ Evidence No. 5), but in any event, there is no
27   evidence that, if that was the cause, Defendants had notice of the same or were otherwise
     negligent or otherwise culpable in addressing the issue to prevent a landslide.
28                                                    6

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 1         Nowhere in the record is there evidence that Defendants were aware, prior to
 2   February 2017, that the slope on their property had a history of landslides or was
 3   unstable and likely to cause a slide. There is no evidence that there had been a
 4   landslide onto Plaintiffs’ property prior to February 2017. There is no evidence that
 5   Defendants were aware that there was high groundwater on the upslope portion of
 6   their property, which could cause land to slide downhill. There is no evidence that
 7   Defendants had received government warnings or notices of dangerous or
 8   substandard conditions on their property likely to cause slide damage to downhill
 9   neighbors, or orders to take abatement measures. There is no evidence that, prior to
10   February 2017, anyone asked Defendants to take steps to prevent downhill land
11   movement onto property below and that they refused. What the evidence does
12   reveal is that, once Defendants became aware of the unstable nature of their
13   property (as a result of the February 2017 landside event), they retained engineers
14   and construction crew to build a soldier pile and tie-back wall to prevent future
15   slides (Supp. Bessette Decl. Exh. “A;” Shires Decl. Exh. “B” pg. 3, ¶2; pg. 4, ¶1).
16   Thus, the only evidence is that, once they became aware of the slide danger, they
17   took reasonable steps to abate the conditions and prevent future slides.
18         Under the circumstances, Plaintiffs have not produced evidence sufficiently
19   probative to permit a reasonable trier of fact to find that Defendants engaged in
20   intentional and unreasonable conduct, or unintentional but reckless or negligent
21   conduct, or abnormally dangerous activity, which conduct caused the February
22   2017 landslide onto Plaintiffs’ property.
23      C. Defendants Have no Obligation to Remove Debris on Plaintiffs’ Land
24         That They Did Not Tortiously Cause it to Be There.

25         Plaintiffs argue, in the alternative, and without citation to any authority

26   whatsoever, that defendants were “legally obligated to remove loose soil that had

27   come from their Property onto the Plaintiffs’ property” (Plaintiff’s Opp. Brief 4:9-

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 1   10)3. Plaintiffs’ legally-unsupported contention runs counter to the legal authorities
 2   cited in the above subsection to the effect that a Defendant has no nuisance or
 3   trespass liability to remedy damage already caused to a neighbor unless the
 4   Defendant landowner’s conduct was intentional and unreasonable conduct, or
 5   unintentional but reckless or negligent conduct, or abnormally dangerous activity.
 6           Again, no duty of removal arises simply because the soil emanated from
 7   Defendants’ property (without evidence of any culpable conduct). (Lussier v. San
 8   Lorenzo Valley Water Dist. (1988) 206 Cal. App. 3d at 102 [“We do not intend to
 9   suggest, however, that one is strictly liable for damages that arise when a natural
10   condition of one's land interferes with another's free use and enjoyment of his
11   property. Such a rule would, quite anomalously, equate natural conditions with
12   dangerous animals, ultrahazardous activities, or defective products, for which strict
13   liability is reserved.”)
14           And even if, after the February 2017 landslide, Defendants intentionally
15   refused to remove the soil and debris from Plaintiffs’ property, such intentional
16   refusal is not actionable nuisance or trespass. To recover in tort, not only must the
17   refusal be intentional, but it must be unreasonable. (Lussier, supra., 206 Cal. App.
18   3d at 100 [intentional but reasonable conduct is not actionable].) To hold otherwise
19   would run afoul of the well-established rule that a person who has not tortiously
20   created a peril is not liable merely for failure to take affirmative action to assist or
21   protect another unless there is some relationship between them that gives rise to a
22   duty to act. (Williams v. State of California (1983) 34 Cal. 3d 18, 23.)
23           As discussed in the previous subsection, there is no strict liability simply
24   because the slide originated from Defendants’ property. There is no competent
25   evidence that Defendants tortiously caused the landslide onto Plaintiff’s property,
26   and we have found no legal authority for the proposition that a special relationship
27   3
      Defendants have objected to Chen’s inadmissible legal conclusion in his declaration that
     Defendants were supposed to clean up the debris (See Obj. to Evidence No. 1).
28                                                  8

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 1   exists between uphill and downhill landowners that would create a heightened duty
 2   beyond the general duty of care established under Civil Code §1714.) If
 3   Defendants had no legal duty to aid Plaintiffs in the removal of soil from Plaintiffs’
 4   property, their refusal to do so cannot be deemed unreasonable.
 5         Accordingly, because they owed no duty to do so, Defendants’ refusal to
 6   remove soil debris from the February 2017 landslide does not defeat summary
 7   judgment in their favor.
 8      D. Defendant’s Alleged Promise To Remove The Soil Is Not Supported By
 9         The Evidence, And In Any Event Cannot Support a Claim Sounding in
           Contract or Promissory Estoppel
10
           Plaintiffs also attempt to pin liability on defendants based upon an alleged
11
     promise to remove the landslide debris from Plaintiffs’ property. The evidence
12
     does not support his claim. (see Obj. to Evidence Nos. 1-3 and Bessette Supp.
13
     Decl. Exh. “A.”)
14
           In support of his contention that Hu agreed to clean up the soil, Plaintiffs
15
     submitted an illegible response purportedly from Hu agreeing to clean up
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     Plaintiffs’ property (Chen Dec. Exh. “A”). A legible copy of the alleged
17
     “response” is attached to the Supplemental Declaration of P.M. Bessette as Exh.
18
     “A.” It is authored by someone named “Komendi K.” There is no evidence in the
19
     record of the relationship between Komendi and Defendants. There is no evidence
20
     Komendi was Defendants agent and authorized to make the statements in this
21
     email on their behalves. Most importantly, nothing in this email indicates that the
22
     Defendants agreed to clean up soil that had been deposited on Plaintiffs’ Property.
23
     Rather, Komendi stated that defendants had hired engineers and a construction
24
     crew to perform construction to prevent future slides. Thus, there is no evidence
25
     Defendants agreed to remove the soil from Plaintiffs’ property.
26
           And in any event, there is no claim for breach of contract or promissory
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     estoppel alleged in the Complaint, and Plaintiffs point to no consideration that they
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 1   gave for Defendants’ alleged promise to clean up their property (Civil Code
 2   §1550(4)) or any evidence that they reasonably relied upon the alleged promise to
 3   their detriment. (US Ecology, Inc. v. State of California, (2005)129 Cal. App. 4th
 4   887, 901 [promissory estoppel cause of action requires proof of detrimental
 5   reliance upon the promise of another].)
 6         For the forgoing reasons, Plaintiffs cannot point to any alleged promise to
 7   clean up their property, or that it would create any disputed issue of material fact
 8   that would defeat summary judgment.
 9      E. Plaintiffs’ Own Evidence Establishes that, After the February 2017
10         Landslide, for Which Defendants Are Not Legally Liable, Defendants
           did Not Commit any Continuing Nuisance or Trespass
11
           Nor is there any evidence that Defendants are liable for any continuing
12
     nuisance of trespass occurring after the February 2017 landslide. Although Plaintiff
13
     Chen states in his declaration that “…more [landslide debris] continues to trickle
14
     down [from Defendants’ property],” Defendants have objected to that testimony
15
     because there is no foundation that he has the requisite scientific, technical, or
16
     other specialized knowledge within the scope of Rule 702 to testify to this opinion
17
     (See Obj. Plaintiffs’ Evidence No. 4). On the contrary, his own experts state: “The
18
     completed soldier pile and tieback wall at 325 Mosley Road appears to be retaining
19
     the landslide debris on the upslope property under current conditions.” (see Shires
20
     Decl. Exh. “B” p. 4 [first sentence under subsection titled “PRELIMINARY
21
     CONCLUSIONS AND RECOMMENDATIONS”].) Further, the fact that
22
     Defendants promptly retained engineers and construction crews after the February
23
     2017 landslide to construct the soldier pile and tie-back wall to prevent future
24
     landslides demonstrates as a matter of law that their conduct was not intentionally
25
     unreasonable or negligent.
26
           Plaintiffs have offered some evidence of current water seepage under the
27
     base of the property line soldier pile and tie-back wall, to which evidence
28                                             10

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 1   Defendants have objected (See Obj. to Plaintiffs’ Evidence Nos. 5-7). First,
 2   Plaintiffs’ complaint and opposition brief do not even refer to this water seepage as
 3   a basis for the nuisance and trespass claims, which is limited to debris and loose
 4   soil (see Comp. ¶¶24, 26, 29; Plaintiffs’ Opp. Brief 2:15-26, 4:1, 4:13-20, 5:19-27).
 5         But in any event, Plaintiffs’ experts do not know the cause of this seepage
 6   and recommend further investigation (Id. pg. 4, ¶6). Thus, there is no evidence it
 7   was due to intentional and unreasonable conduct, negligence or abnormally-
 8   hazardous activity on the part of Defendants. (Lussier v. San Lorenzo Valley Water
 9   Dist. (1988) 206 Cal. App. 3d 92, 101, 107 [nuisance and trespass liability must be
10   based on intentional and unreasonable conduct, or unintentional but reckless or
11   negligent conduct, or abnormally dangerous activity].)
12         Further, there is no evidence the water seepage from Defendants property
13   onto plaintiffs substantially interferes with their use and enjoyment of their
14   property (Mendez v. Rancho Valencia Resort Partners, LLC (2016) 3 Cal. App. 5th
15   248, 262 [in order to recover for nuisance, interference must be substantial]) or that
16   Plaintiffs have suffered any actual damage (as opposed to potential future damage
17   that has not occurred to date) from it (CACI 2000(4) [no actionable trespass unless
18   Plaintiff actually harmed by Defendants’ entry].)
19         Thus, evidence of water seepage on Plaintiffs’ property does not create a
20   disputed issue of material fact that would prevent entry of an order of summary
21   judgment in favor of Defendants.
22      F. Plaintiffs Have Failed to Make an Adequate Showing of Entitlement to
23         Punitive Damages

24         As demonstrated in the moving papers and above, there simply is no

25   evidence of (1) intentional and unreasonable conduct, or (2) unintentional but

26   reckless or negligent conduct, or (3) abnormally dangerous activity on the part of

27   Defendants that caused Plaintiffs damage. But even if Plaintiffs could somehow

28                                             11

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 1   demonstrate some issue of material fact with regard to nuisance or trespass
 2   liability, the evidence in the record is woefully insufficient to support a claim that
 3   Defendants acted with malice, oppression or fraud in causing Plaintiffs’ damages.
 4   (See Cal. Civ. Code §3294).
 5          Not only is the evidence insufficient to establish probable punitive-damage
 6   liability, but it clearly does not meet the higher standard for “clear and convincing
 7   evidence” required to establish a punitive—damage claim. (Cal Civ. Code §3294
 8   [punitive damages must be proved by “clear and convincing” evidence]; Anderson,
 9   supra, 477 US at 252-253, 106 S.Ct. at 2512 [where a “clear and convincing”
10   standard would apply at trial, a higher quantum of proof is required to defeat a
11   summary judgment.] Therefore, if the court does not grant summary judgment on
12   the nuisance and trespass causes of action, Defendants respectfully request that it
13   grant partial summary adjudication the claim for punitive damages and thereby
14   narrow the issues for further litigation.
15   III.   CONCLUSION
16          For the reasons set forth in Defendants’ moving papers and in these reply
17 papers, Defendants respectfully request that the court grant the motion for summary

18 judgment, or barring that, for partial summary judgment on the claim for punitive

19 damages.

20

21
     Dated: August 30, 2022             DEMLER, ARMSTRONG & ROWLAND, LLP
22

23

24                                      By:
                                              P.M. Bessette
25                                            Attorneys for Defendants
                                              CHENG HU and XIAO LIANG
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28                                               12

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